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                                                                                     U.S.D .C. Atlanta
                          IN THE UNITED STATES DISTRICT COURT
                                                                                     SEP 1 6 2003 '
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                              LUTHER      THOMAS, Clerk
                                        ATLANTA DIVISION

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 UNITED STATES OF AMERICA,                             )

                      Plaintiff,                       )
                                                              Civil Action No .

                                                               1 : 03-C v -2789
                            v.                         )

HI-TECH PHARMACEUTICALS, INC .,        )
NATIONAL UROLOGICAL GROUP, INC .,      )
NATIONAL INSTITUTE FOR CLINICAL        )
WEIGHT LOSS, INC ., AMERICAN WEIGHT    )                                                          V

LOSS CLINIC, INC ., UNITED METABOLIC )
RESEARCH CENTER, INC ., corporations ;)
and JARED R . WHEAT, an individual,   )

                    Defendants .                       )

                          COMPLAINT FOR PERMANENT INJUNCTION

         The United States of America,               for its compliant against the

defendants, respectfully represents as follows :

         1 .      This statutory injunction proceeding is brought

pursuant         to the Federal Food, Drug,            and Cosmetic Act       ("FDCA"),

under 21 U .S .C .         § 332(a),      to enjoin Hi-Tech Pharmaceuticals,

Inc .,    National Urological Group,               Inc .,    National    Institute for

Clinical Weight Loss,                Inc .,   American Weight Loss Clinic,           Inc .,

and United Metabolic Research Center,                       Inc .,   corporations,    and

Jared R .        Wheat,    an individual        (hereinafter "defendants"),           from

violating :

         a.       21 U .S .C .   §   331(d),   by introducing or delivering for

introduction into interstate commerce,                       or causing to be               RM R CEIV[D
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introduced or delivered for introduction into interstate

commerce,        new drugs within the meaning of 21 U .S .C .                    §    321(p)   that

are not approved under 21 U .S .C .                   §   355(a) ;   and

        b.       21   U .S .C .    § 331(a),    by introducing or delivering for

introduction into interstate commerce,                        or causing to be

introduced or delivered for introduction into interstate

commerce, drugs that are misbranded within the meaning of 21

U .S .C .     H 352(f)(1)          and 352(a) ;

        2 .      This Court has jurisdiction over this action pursuant

to 28 U .S .C .       §§   1331,     1337,   and 1345,       and 21 U .S .C .    § 332(a) .

        3.       Venue in this district is proper under 28 U .S .C .

H 1391(b) and (c) and Local Rule 3 .1 of the Civil Local Rules of

Practice for the United States District Court for the Northern

District of Georgia .

        4.       Defendant Hi-Tech Pharmaceuticals,                    Inc . is incorporated

under the laws of the State of Georgia,                        with its principal place

of business located at 5675 Jimmy Carter Blvd .,                            Suite 720,

Norcross,        Georgia 30071,         within the jurisdiction of this Court .

Hi-Tech Pharmaceuticals,                Inc .   is engaged in storing,            processing,

labeling,        packing,         promoting,    and distributing articles of drug

within the jurisdiction of this Court .

        5.       Defendant National Urological Group,                      Inc . is

incorporated under the laws of the State of Alabama,                              with its

principal place of business located at 5675 Jimmy Carter Blvd .,



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Suite     720,    Norcross,      Georgia 30071,   within the     jurisdiction of

this Court .        National Urological Group,         Inc .   is engaged in

storing,        processing,      labeling, packing,    promoting,    and

distributing articles of drug within the jurisdiction of this

Court .

        6.       Defendant National Institute for Clinical Weight Loss,

Inc .   is     incorporated under the laws of         the State of Alabama,             with

its principal place of business             located at 5675 Jimmy Carter

Blvd .,       Suite 720,    Norcross,   Georgia 30071,     within the

jurisdiction of this Court .             National   Institute for Clinical

Weight Loss,        Inc .   is engaged in storing,      processing,       labeling,

packing,       promoting,       and distributing articles of drug within the

jurisdiction of         this Court .

        7 .      Defendant American Weight Loss Clinic,           Inc .    is

incorporated under the laws of the State of Georgia,                      with its

principal place of business located at                5675 Jimmy Carter Blvd .,

Suite 720,        Norcross,     Georgia 30071,    within the jurisdiction of

this Court .        American Weight Loss Clinic,         Inc .   is engaged in

storing,       processing,       labeling, packing,    promoting,    and

distributing articles of drug within the jurisdiction of this

Court .

        8 .      Defendant United Metabolic Research Center,               Inc .   is

incorporated under the laws of the State of Alabama,                      with its

principal place of business located at 5675 Jimmy Carter Blvd .,



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Suite 720,        Norcross,     Georgia 30071,        within the jurisdiction of

this Court .        United Metabolic Research Center,            Inc .    is engaged in

storing,        processing,     labeling, packing,        promoting,     and

distributing articles of drug within the jurisdiction of this

Court .

         9.      Defendant Jared R . Wheat,           an individual,     is the

President,        a member of the Board of Directors,            and a major

stockholder for all defendant corporations .                   Defendant Wheat also

was the sole incorporator of Hi-Tech Pharmaceuticals,                          Inc .,

National Urological Group,            Inc .,       American Weight Loss Clinic,

Inc .,    and United Metabolic Research Center,               Inc,   and a co-

incorporator of National            Institute for Clinical Weight               Loss,     Inc .

He is the most responsible individual                   for all the day-to-day

operations of all of these corporations .                   Defendant Wheat         is

responsible for all product            specifications,        product labeling,

sales,        and marketing .

         10 .    Defendants also do business under a variety of other

names,        including Advanced Metabolic Technologies,               American

Bariatric Group,         Berkshire-Wheat Research Center,              Richmond-Klein

Pharmaceutical Services,           Urological Research Laboratories,

Urological Health Institute,            Smith-Holda Pharmaceuticals,                and

Warner Laboratories .           The defendants actively use these                "dba"

entities for marketing purposes .                  While the product labeling for

these companies often contains addresses other than that of the



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Norcross,       Georgia facility,    those addresses are for business or

mail   service centers .        The sole physical location for these

entities is       5675 Jimmy Carter Blvd .,         Suite 720,   Norcross,         Georgia

30071,    within the jurisdiction of this Court .

       11 .     Defendants have been and are now engaged at                their

facility at       5675 Jimmy Carter Blvd .,         Suite 720,   Norcross,         Georgia

30071,    in storing,      processing,   labeling,      packing,       promoting,     and

distributing in interstate commerce products labeled as                       "dietary

supplements ."       Because the defendants promote these products for

the cure,       mitigation,    treatment,       or prevention of disease in man,

they are drugs within the meaning of 21 U .S .C .                § 321(9),     that are

misbranded within the meaning of 21 U .S .C .             §§ 352(f)(1)        and

352(a),       and unapproved in violation of 21 U .S .C .          §    355(a) .

       12 .     For example,    the defendants claim that Dexalean,

Lipodrene, Thermalean, and Thermo-Z are intended to treat

obesity .       The defendants claim that Dioxadren,             Zebutol, Vigor-Rx,

and Uropin are intended to treat erectile dysfunction .

       13 .     The defendants make drug claims          for their products

through an integrated unsolicited mass mailing scheme .                       At the

defendants'       direction,    a mailing service sends brochures and

order forms describing the products and the diseases they are

intended to cure, mitigate,          treat,       or prevent,    to customers and

potential customers, based on lists provided by Defendant Wheat .




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        14 .    The brochures and order forms are "labeling" within the

meaning of 21 U .S .C .          §   321(m)    because they are           "labels and other

written,       printed,    or graphic matter                (1)   upon any article or any

of   its containers or wrappers or                    (2)   accompanying such article ."

The phrase       "accompanying such article"                      does not require physical

attachment ;      it encompasses materials that supplement or explain a

product,       even if    the materials do not travel with the product .

See Kordel v .       United States ,          335 U .S .      345,    349-350   (1948) .

        15 .    Defendants also make drug claims for Betadrene-SR,

Thermalean,       Dioxadren,         Diotrex,    Stamina-Rx,           Stimerex,    Lipodrene,

and Cyclovar on the Internet at www .betadrene .com ,

www .weightlosscontrol .com ,            www .thermalean .cc ,

www .berkshirewheat .com ,           www .hitechpharma .com ,            and

www .cvclovar .com .           Consumers can order the drugs directly through

those    Internet websites or through toll-free telephone numbers

provided on the websites .

        16 .    Dexalean,      Lipodrene,       Thermalean,           Thermo-Z,    Dioxadren,

Zebutol,       Vigor Rx,       and Uropin are          "drugs"       within the meaning of

the FDCA,       21 U .S .C .    § 321(g)(1)(B),             because the products'

labeling establishes that they are intended to be used in the

cure,    mitigation,       treatment,         or prevention of disease in man .

        17 .    Dexalean,      Lipodrene,       Thermalean,           Thermo-Z,    Dioxadren,

Zebutol,       Vigor Rx,       and Uropin are also                "new drugs" within the

meaning of 21 U .S .C .          §   321(p),    because they are not generally



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recognized,     among experts qualified by scientific training and

experience to evaluate the safety and effectiveness of drugs,                           as

safe and effective              for use under the conditions prescribed,

recommended,      or suggested in their labeling .

     18 .     Typical and illustrative of the types of disease claims

that defendants have been making about their products are the

following :

     a.       Dexalean :         " . . . our focus has centered on individuals

who have lived with the pain of chronic obesity . . .,"                   "We have

SEEN the profound impact Dexalean can have on the lives of those

who have suffered               (for the last time)      the pain of obesity!"     and

"This potent nutriceutical has been used for centuries to safely

treat edema,      diabetes,         and obesity ."

     b.       Lipodrene :         "The availability in nature of equivalents

and substitutes for Xenical, Meridia,                    and Fastin are destined to

make Lipodrene          . . .   America's   strongest diet aid!"

     c.       Thermalean :         "Naturally Occurring Equivalents and

Substitutes for Sibutramine                 (Meridia),    Orlistat   (Xenical),   and

Phentermine      (Fastin)         in Thermalean's Core Pharmaceutical

Composition and Formulation,"                "Thermalean's proprietary

components have been proven to                 . . .   inhibit Lipase for obesity

management     . . .   without dangerous side-effects associated with

prescription drugs,"              "By approaching obesity with a proprietary

nutriceutical          rather than a new prescription drug our firm has


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foregone more than a billion dollars virtually guaranteed to any

new prescription diet drug upon FDA approval,"                   "Our primary

concern is bringing the safest, most effective diet aid to the 80

million Americans who are 20% or more above their ideal body

weight,"     "With the countless life-threatening diseases directly

linked to obesity time was of the essence," and "Try Thermalean

today and win the battle against obesity ."

     d.       Thereto-Z :    "The Right Move Against Obesity . . .,"

"substitutes for Meridia . . .," "replaces Fastin                 . . .," "the

natural alternative to Xenical," and "Thermo-Z utilizes

substitutes in nature for each of the three FDA approved weight

loss products : Meridia, Xenical,            and Fastin ."

     e.       Dioxadren ;     "The most exciting and comprehensive

compound ever released for Erectile Dysfunction," "Dioxadren -

The New Standard in Treatment for Erectile Dysfunction,"                    and " . . .

Leaves Viagra Behind ."

     f .      Zebutol :     "In the absence of    this blood-flow,        erectile

dysfunction becomes even more dysfunctional," and "ONE TRY . . .

and you will understand why Zebutol is SERIOUSLY an alternative

to Viagra ."

     g.      Vigor Rx :      "Vigor Rx contains 4 active compounds to

accomplish this goal          'mimicking the effects of Viagra',"           "Vigor

Rx is by far our most powerful and effective aid for . . . erectile

dysfunction," and "Vigor Rx works for men with severe erectile


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dysfunction due to prostate problems,                      diabetes,     high blood

pressure, etc .           . . ."

        h.       Uropin :    " . . . offers significant support for any man

experiencing difficulties with erectile function,"                          and   "Our

manufacturing facility is FDA approved                      . . . ."

        19 .      Dexalean,         Lipodrene, Thermalean,        Thermo-Z,    Dioxadren,

Zebutol,         Vigor Rx,         and Uropin are manufactured according to

Defendant Wheat's specifications by contract manufacturers

located in New Jersey and Florida,                      and are shipped to the

defendants'         facility in Georgia in interstate commerce,                   within

the meaning of            21 U .S .C .     § 321(b) .   The articles of drugs are

further shipped by the defendants to customers                          in interstate

commerce,         within the meaning of 21 U .S .C .            § 321(b),     to places

oultside of Georgia .

        20 .     No approved new drug applications filed pursuant to 21

U .S .C .    §   355(b)     or exemption from such requirement under 21

U .S .C .    §   355(1)     are     in effect for the products .         Accordingly,

pursuant to 21 U .S .C .              §   355(a),   these products may not be

introduced lawfully into interstate commerce .

        21 .     Defendants violate 21 U .S .C .           §   331(d)   by introducing or

delivering for introduction into interstate commerce unapproved

new drugs .

        22 .     The drugs are also misbranded within the meaning of 21

U .S .C . § 352(f)(1)              in that their labeling fails to bear adequate


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directions for their intended uses, because there are no adequate

and well-controlled clinical studies of these products upon which

such directions could be based .

        23 .   Uropin is also misbranded within the meaning of 21

U .S .C .   § 352(a)    in that its     labeling is false and misleading,

because it states that the product is manufactured in an FDA-

approved facility and FDA does not              approve such facilities .

Cyclovar,      Sigra,    Spontane ES,     Stamina RX,   Stamina RX for Women,

Uroprin,       and Vigor Rx are also misbranded within the meaning of

21 U .S .C .    §   352(a),   in that they contain an active pharmaceutical

ingredient,         tadalafil,   that   is not declared on their labels .

       24 .    Defendants violate 21 U .S .C .       § 331(a)   by doing or

causing the         introduction or delivery for introduction into

interstate commerce of misbranded drugs .

       25 .    Defendants have been notified and are aware that their

activities violate the FDCA .             In a March 2000 Warning Letter,       the

Food and Drug Administration             ("FDA")   warned Defendants Hi-Tech

and Wheat that disease claims for Betadrene-SR product,                 which

included references to obesity and a comparison of the product to

prescription diet drugs including Phen-fen and Redux,                 caused

their product to be an unapproved new drug .

       26 .    In March 2002,      FDA issued a second Warning Letter to

Defendants Hi-Tech and Wheat .            In that letter, FDA stated that

materials claiming that Metanabol is intended to "support the



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erectile function of all men who have experienced any degradation

in erectile health,"             and is     "virtually safe"     for all people,

including those with health problems,                  caused the product to be an

unapproved new drug .             The March 2002 Warning Letter also

explained that Metanabol was misbranded within the meaning of 21

U .S .C .    § 352(f)(1),       in that     its labeling failed to bear adequate

directions for use .

        27 .    Despite these efforts by FDA to bring the defendants

into compliance with the FDCA,                and despite verbal agreements from

Defendant Wheat to bring the defendants'                   products into

compliance,        the defendants continue to distribute misbranded and

unapproved new drugs .

        Plaintiff     is informed and believes that,              unless restrained

by this Honorable Court,             the defendants will         continue to violate

21 U .S .C . § 331(a)          and (d)    in the manner alleged .

       WHEREFORE,      plaintiff prays that          this Court :

        1.      Permanently enjoin the defendants, and each and all of

their officers,        agents,      representatives,       employees,       successors,

assigns,       attorneys,       and any and all persons in active concert or

participation with any of them                 (including affiliates and          "doing

business as" entities)             from :

       a.       storing,       processing,    labeling,    packing,    or distributing

misbranded drugs in violation of                21 U .S .C .   § 331(a) ;   and




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       b.       storing,   processing,   labeling,    packing,    or distributing

unapproved new drugs in violation of 21 U .S .C .           §    331(d) ;

       2.       Award plaintiff the costs of bringing this action,

including the costs of FDA's inspections of the defendant's

facilities conducted after March 2000,            when the defendants were

warned about distributing misbranded and unapproved new drugs ;

       3 .     Award plaintiff the costs associated with any

inspections conducted by FDA to ensure compliance with any order

of   injunction entered by this Court ;         and




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     4.     Award plaintiff any such other and additional relief as

the Court may determine to be proper and just .



                                           Respectfully submitted,

                                           WILLIAM S . DUFFEY, JR .,
                                           United States Attorney


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